Case 1:23-cv-00621-CFC Document 1 Filed 06/07/23 Page 1 of 7 PagelD #: 12

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF DELAWARE
MARIE L SMITH, CaseNo.:23-621234
Plaintiff, PLAINTIFF’S COMPLAINT
FOR A CIVIL CASE ALLEGING
v. NEGLIGENCE
CITIBANK
Defendant. =
COMPLAINT “a
=>

Plaintiff MARIE SMITH ("Plaintiff"), pro se, and as for his Complaint against =~"
Defendant Citibank, respectfully sets forth, complains, and alleges, upon information and

IND

belief, the following:

JURISDICTION AND VENUE

1. This action arises under the jurisdiction of the United States District Court for the
District of Delaware, pursuant to 28 U.S.C. § 1331 (federal question jurisdiction) and 15
U.S.C. § 1681p (claims under the Fair Credit Reporting Act).

2. Venue is proper in this district under 28 U.S.C. § 1391(b)(2) as the events giving rise to
the claim occurred within this judicial district.

PARTIES TO THIS COMPLAINT

1. Plaintiff, MARIE L SMITH (‘Plaintiff’), in pro se, is, and at all times material hereto,
a competent adult, a natural person, a citizen of the State of Delaware, and currently
residing at 208 OAK WOOD PL, MIDDLETOWN DE 19709-8620. and a consumer as
defined under the Fair Credit Reporting Act (FCRA), 15 U.S.C. § 1681a(c).
Case 1:23-cv-00621-CFC Document 1 Filed 06/07/23 Page 2 of 7 PagelD #: 13

2. Defendant, CITIBANK, is a national banking institution organized under the laws of
the United States with its principal place of business located at 1 Penns Way, New
Castle, DE 19720 has its operations and presence in the state of Delaware with various
branches and offices to provide banking and financial services to customers in the state.

3. Upon information and belief, Defendant Citibank offered the defendant a credit card,
granting them access to a revolving line of credit. This credit card allows the defendant
to make purchases, borrow funds, and repay the balance over time, subject to the terms

and conditions of the card agreement.

FACTUAL BACKGROUND

1. Onor around 05/31/2012, the Plaintiff entered into a credit card agreement with
Citibank under account number 54241811****,

2. The credit report furnished by Citibank indicates the Account status as
"DEROGATORY," with a balance of $7,865 and payment status as "Collection/Charge
off: However, the Plaintiff contends that the reported information is inaccurate and does
not reflect the true state of her financial responsibility as it fails to reflect the true nature
of the debt. These erroneous entries signal potential misconduct involving RICO
offences and money laundering associated with this account along with severe

consequences for her, both financially and emotionally.

3. The erroneous entry that negatively impacts the Plaintiff’s creditworthiness and
financial standing is not an accurate representation of her financial situation and is of
great concern to the Plaintiff. The erroneous details on the credit report have had severe
consequences for her, both financially and emotionally. Due to these false entries, she
has encountered significant difficulties in obtaining credit, securing favorable loan
terms, and even pursuing certain employment opportunities. Furthermore, these errors
have caused immense distress and anxiety as they portray an inaccurate picture of the
Plaintiff’s financial responsibility.

4. The actions of Citibank in reporting the Account status as "DEROGATORY" and the
payment status as "Collection/Charge off" are in violation of the Fair Credit Reporting
Act (FCRA), 15 U.S.C. § 1681 et seq.
Case 1:23-cv-00621-CFC Document 1 Filed 06/07/23 Page 3 of 7 PagelD #: 14

Citibank has failed to conduct a reasonable investigation into the accuracy of the
reported information, as required by 15 U.S.C. § 1681s-2(b)(1).

The inaccurate reporting has resulted in significant harm to the Plaintiff's
creditworthiness, financial standing, and overall well-being.

The Plaintiff contends that the erroneous reporting has caused her to suffer financial

losses, increased interest rates, and limited access to credit opportunities.

These false entries have also had a profound impact on the Plaintiff's emotional well-

being, causing immense distress and anxiety.

CLAIMS FOR RELIEF

Count I: Violation of Fair Credit Reporting Act

Citibank's actions in reporting inaccurate and derogatory information on the Plaintiff's credit

report constitute a violation of the Fair Credit Reporting Act, specifically 15 U.S.C. §
1681s-2(b)(1).

10.

11.

12.

13.

The Plaintiff asserts that Citibank's failure to conduct a reasonable investigation into the
accuracy of the reported information has further compounded the violation of the
FCRA.

The inaccurate reporting has resulted in actual damages to the Plaintiff, including

financial losses, increased interest rates, and limited access to credit opportunities.

The Plaintiff seeks compensatory damages to restore her financial standing and
compensate for the harm caused by Citibank's non-compliance with the FCRA.

The Plaintiff also seeks punitive damages to deter Citibank and others from engaging in

similar misconduct in the future.

Additionally, the Plaintiff requests injunctive relief, requiring Citibank to implement
procedures to prevent future violations of the FCRA.
Case 1:23-cv-00621-CFC Document 1 Filed 06/07/23 Page 4 of 7 PagelD #: 15

14. The Plaintiff further requests the Court to award reasonable attorney's fees and costs
incurred in pursuing this action.

unt II: Negligent Violation of Fair Credit Reporting Act

1. In addition to the intentional violation of the Fair Credit Reporting Act (FCRA), as
provided by 15 U.S.C. § 1681n, the Plaintiff asserts that Citibank's actions constitute a
negligent violation of the FCRA, as provided by 15 U.S.C. § 1681o.

2. Citibank had a duty to exercise reasonable care in the reporting of accurate and non-
derogatory information about the Plaintiff's credit history, as required by 15 U.S.C. §
1681e(b).

3. Citibank breached this duty by negligently reporting inaccurate and derogatory
information, which has caused substantial harm to the Plaintiff, in violation of 15 U.S.C.
§ 1681e(b).

4. The Plaintiff seeks compensatory damages for the financial losses, emotional distress,
and other harm suffered as a result of Citibank's negligent violation of the FCRA,
pursuant to 15 U.S.C. § 1681o. ,

Count II: Defamation

The inaccurate and derogatory information reported by Citibank has also resulted in
defamation of the Plaintiff's character and reputation, in violation of common law principles

and applicable state statutes.

Citibank published false and damaging statements about the Plaintiff's creditworthiness,
payment history, and financial responsibility to third parties, including credit reporting

agencies, in violation of defamation laws.

1. These false statements have caused harm to the Plaintiff's personal and professional
reputation, as recognized by common law principles and applicable state statutes.
Case 1:23-cv-00621-CFC Document 1 Filed 06/07/23 Page 5 of 7 PagelD #: 16

The Plaintiff seeks compensatory damages for the harm caused by Citibank's
defamation, including damage to her reputation, emotional distress, and other associated

losses, as permitted by applicable defamation laws.

Count IV: Intentional Infliction of Emotional Distress

Citibank's intentional and reckless reporting of inaccurate and derogatory information
has caused severe emotional distress to the Plaintiff, in violation of common law

principles.

Citibank's actions were extreme and outrageous, going beyond the bounds of acceptable

conduct, as recognized under common law principles.

The Plaintiff has suffered severe emotional distress, including anxiety, humiliation, and
mental anguish, as a direct result of Citibank's intentional misconduct, in violation of

common law principles.
The Plaintiff seeks compensatory damages for the emotional distress caused by

Citibank's intentional infliction of emotional distress, as permitted under applicable

common law principles.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Honorable Court grant the following
relief:

1.

Declare that Citibank's actions constitute both intentional and negligent violations of the
Fair Credit Reporting Act, as provided by 15 U.S.C. § 1681n and 15 U.S.C. § 16810,

respectively.

Order Citibank to correct the inaccuracies on the Plaintiff's credit report and update the
Account status accordingly, in accordance with 15 U.S.C. § 16811.

Order a thorough investigation into the reporting and handling of Plaintiff's account by
Citibank and provide a comprehensive explanation of the Derogatory status, the
Case 1:23-cv-00621-CFC Document 1 Filed 06/07/23 Page 6 of 7 PagelD #: 17

chargeoff designation, the origin of the balance, and any relevant information regarding
Rico offences or money laundering.

4. Award compensatory damages to the Plaintiff for the harm suffered due to the
inaccurate reporting, including financial losses, emotional distress, damage to
reputation, and other associated losses, as provided by 15 U.S.C. § 16810 and

applicable defamation laws.

5. Award punitive damages against Citibank for its willful non-compliance and intentional
misconduct, in accordance with 15 U.S.C. § 1681n and applicable state laws.

6. Grant injunctive relief, ordering Citibank to implement procedures to prevent future
violations of the FCRA and to cease defamatory reporting, as authorized by 15 U.S.C. §
1681s-2.

7. Award reasonable attorney's fees and costs incurred in pursuing this action, as provided
by 15 U.S.C. § 1681n and applicable laws.

8. Grant any further relief that the Court deems just and equitable.

DEM. FOR TRIAL BY JURY

Plaintiff demands and hereby respectfully requests a trial by jury for all claims and issues_of
this Complaint to which Plaintiff is or may be entitled to a jury trial.

I, MARIE L SMITH, swear that the foregoing is a just and true statement of the amount
owing by Defendant to Plaintiff, exclusive of all set-offs and just grounds of defense.

By affixing this electronic verification, oath, or affidavit to the pleading submitted to the
court and attaching my electronic signature. I do swear or affirm that the statements set forth in the

above pleading are true and correct.

DATED: ...6.~6.~20023 Respectfully Submitted By: ys Eu
Case 1:23-cv-00621-CFC Document 1 Filed 06/07/23 Page 7 of 7 PagelD #: 18
s/Marie L Smitt

208 OAKWOOD PL,
MIDDLETOWN DE
19709-8620
Plaintiff, Pro Se
